Case 23-50437-JTD   Doc 33-1   Filed 10/27/23   Page 1 of 13




           Tab 1
DocuSign Envelope ID: 7970A2F2-7DF3-47FF-A817-D649C339C16E
                       Case 23-50437-JTD             Doc 33-1      Filed 10/27/23   Page 2 of 13



                                                 Share Purchase Agreement


                                                     dated 25 October 2020




                                                        by and between


            Crypto Lawyers GmbH




                                                                                              ("Seller 1")


            Ernest Ukaj




                                                                                              ("Seller 2")




            Lorem ipsum RM UG (haftungsbeschrankt)




                                                                                              ("Seller 3 ")


                                                             and


            Alameda Ventures Ltd.
            1st Floor, Eden Plaza
            Eden Island
            Republic of Seychelles
DocuSign Envelope ID: 7970A2F2-7DF3-47FF-A817-D649C339C16E
                       Case 23-50437-JTD             Doc 33-1        Filed 10/27/23   Page 3 of 13




                                                                                              ("Purchaser")




                                                              regarding


                                                     Sale and Purchase of

                                                              Shares in

                                                    Digital Assets DA AG

                                                       Industriestrasse 28
                                                             9100 Herisau
                                                             Switzerland




            WHEREAS, Digital Assets DA AG ("Company") is a Swiss corporation limited by shares
            (Aktiengesellschaft), registered with the Commercial Register of Appenzell Ausserrhoden
            under the registration number CHE-17 5.231.191 whose registered share capital amounts to
            CHF 100,000.00, paid-up in the amount of CHF 50,000.00 (Liberierung) and is divided into
             1,000 registered shares (Namenaktien) with a par value of CHF 1,000.00 (each such share
            hereinafter referred to as a "Share" and several of such shares together, the "Shares").
            WHEREAS, Seller 1 is the owner of 500 (five hundred) Shares, representing 50% of the
            Company's share capital, Seller 2 and Seller 3 each own 250 (two hundred fifty) Shares,
            representing each 25% of the Company's share capital (the "Existing Shares").

            WHEREAS, the purpose of the Company as a technology and financial company is to issue
            structured financial products to professional counterparties, in particular financial instruments
            whose price is derived from an underlying asset, in Switzerland and worldwide, as well as to
            provide related services. The Company may establish branches in Switzerland and abroad, to
            participate in other enterprises in Switzerland and abroad, to acquire similar or related
            enterprises or to merge with such enterprises, and to enter into all business transactions and
            conclude all contracts which are suitable for promoting the purpose of the Company or which
DocuSign Envelope ID: 7970A2F2-7DF3-47FF-A817-D649C339C16E
                       Case 23-50437-JTD             Doc 33-1        Filed 10/27/23      Page 4 of 13



            are directly or indirectly related to it. It may acquire, administer, encumber and sell land,
            intellectual property rights and licenses of all kinds.

            WHEREAS, in accordance with the terms and subject to the conditions of this agreement
            ("Agreement"), the Sellers wish to sell and assign to the Purchaser, and the Purchaser wishes
            to buy and accept from the Seller, in total 50 (fifty) Shares, representing 5% (five per cent) of
            the Company's share capital ("Sale Shares").


            NOW, THEREFORE, the parties hereto (each a "Party", and collectively the "Parties") agree
            as follows:




              1.     Definitions


              Business Day                              means a day other than Saturday and Sunday when
                                                        banks are open for business in Switzerland.

              USD                                       US Dollars


              Encumbrance                               means any kind of claim and all claims and any kind of
                                                        mortgage, pledge, lien, charge (fixed or floating),
                                                        options, rights of pre-emption or equities whatsoever
                                                        and not being arrested or blocked or subject to
                                                        withdrawal under any legal or legislative acts of any
                                                        authorized body and or court resolution and or
                                                        otherwise, assignment, whether absolute or by way of
                                                        security, hypothecation, security interest, equity, any
                                                        preferential right or trust arrangement or other
                                                        agreement or arrangement the effect of which is the
                                                        creation of security and any other encumbrance or
                                                        security arrangement of any kind, as well as any other
                                                        rights or interests of third parties in terms of obtaining
                                                        any   funds    or property      and   any    agreements,
                                                        arrangements or obligations to create any of the above.
DocuSign Envelope ID: 7970A2F2-7DF3-47FF-A817-D649C339C16E
                       Case 23-50437-JTD             Doc 33-1     Filed 10/27/23     Page 5 of 13




              2.     Sale and Purchase of Shares
                     2.1.   Subject to the terms and conditions of this Agreement, the Sellers hereby sell
                              and assign to the Purchaser, and the Purchaser hereby purchases and accepts
                              from the Sellers, the full legal and beneficial ownership of a total amount of 50
                              (fifty) Sale Shares, free and clear from any Encumbrance ("Transaction").
                     2.2.     Seller 1 will sell and assign 25 Sale Shares and Seller 2 and Seller 3 will each
                              sell and assign 12.5 Sale Shares to the Purchaser against payment of the
                             Purchase Price as described in section 3.2. of this Agreement.


              3.     Purchase Price / Consideration
                     3.1.  The fixed purchase price payable by the Purchaser to the Sellers on a pro rata
                             basis for the sale of the Sale Shares is 700,000 (seven hundred thousand) US
                             Dollars ("USD") ("Purchase Price").
                     3.2.    The Purchase Price shall be paid in cash without any deduction of whatsoever
                             nature by wire transfer according to the following schedule:
                            3.2.1.    Seller 1 receives USD 350,000 in total. Seller 2 and 3 receive each USD
                                      175,000 in total as purchase price.
                            3.2.2.    USD 166,666.66 of the Purchase Price shall be paid on signing this
                                      agreement on a pro rata basis to Seller 1 (50%), Seller 2 and Seller 3
                                      (each 25%). USD 166,666.66 of the Purchase Price shall be paid on 3
                                      November 2020 on a pro rata basis to Seller 1 (50%), Seller 2 and Seller
                                      3 (each 25%). USD 166,666.66 of the Purchase Price denominated in
                                      USD shall be paid on 30 November 2020 on a pro rata basis to Seller 1
                                      (50%), Seller 2 and Seller 3 (each 25%). USD 200,000.00 of the
                                      Purchase Price shall be paid on 15 February 2021 on a pro rata basis to
                                      Seller 1 (50%), Seller 2 and Seller 3 (each 25%).
                            3.2.3.    The instalments shall be payable provided the impaired service offering
                                      by DAAG on such dates. Paid instalments of the Purchase Price will not
                                      be redeemed in case the service is not upheld on future due dates.
                            3.2.4.    The purchase price is to be paid to the following bank accounts:
DocuSign Envelope ID: 7970A2F2-7DF3-47FF-A817-D649C339C16E
                       Case 23-50437-JTD              Doc 33-1    Filed 10/27/23       Page 6 of 13




                                           Seller 1



                                           Seller 2          Name: Ernest Ukaj
                                                             IBAN:
                                                             BIC:

                                           Seller 3          Name: lorem ipsum RM UG
                                                             (haftungsbeschrankt:)
                                                             IBAN:
                                                             BIC::


                            3.2.5.    By signing this Agreement, the parties agree that the Purchase Price may
                                      be paid directly to the Company as a loan:



                                           Company           Name: Digital Assets DA AG
                                                             IBAN:
                                                             BIC:




              4.     Conditions to Closing
                     4.1.     The Transaction shall be consummated if and to the extent that the Purchase
                              Price has been paid in full by the Purchaser to the Sellers "Closing Date").
                     4.2.     Concurrently with and in exchange for (Zug um Zug) the closing actions of the
                              Purchaser, the Sellers or the Company shall perform the following closing
                              actions:
                            4.2.1.    an assignment of the shares and, if necessary, deliver proof that any
                                      other actions required for the valid transfer of title of the Sale Shares
                                      have been completed, such as e.g. providing the Company the necessary
                                      instructions in order to effectuate the transfer of the Sale Shares;
                            4.2.2.    deliver the duly signed minutes of the resolution of the board of directors
                                      of the Company approving the entry of the Purchaser as the new holder
                                      of the Sale Shares in the share register of the Company as of the date of
                                         signing;
DocuSign Envelope ID: 7970A2F2-7DF3-47FF-A817-D649C339C16E
                       Case 23-50437-JTD             Doc 33-1     Filed 10/27/23       Page 7 of 13



                            4.2.3.    deliver the duly signed share register (Aktienbuch) of the Company in
                                      which the Purchaser is registered as shareholder of the Company in
                                      respect of the Sale Shares as of the Closing Date.
                     4.3.     Risk, title and benefit regarding the Sale Shares shall pass from Seller to
                              Purchaser at the Closing Date.
              5.     Capital Injection
                     5.1.     On Closing Date, the Sellers will grant a credit to the Company in the amount
                              of the pro rata Purchase Price ("Capital Injection").
                     5.2.     The term of the credit will be 2 (two) years beginning from the signing of this
                             Agreement. The interest rate will be the minimum interest rate as required by
                              Swiss law (i.e. currently 0.75% p.a.). The Company may at its discretion repay
                             the credit at any time and to any extent before maturity. Any claim arising of
                             the loan will be subordinated.


              6.     Representations and Warranties of the Seller

                     The Sellers hereby represent and warrant to the Purchaser that as of signing and at the
                     Closing Date of this Agreement:
                     6.1.     Each Seller has all requisite power and authority to enter into and perform this
                             Agreement and the other documents referred to therein and is authorized to sell
                              and transfer complete and unrestricted title to the Sale Shares on the terms and
                              conditions of this Agreement. Other than as set forth herein, no authorizations,
                             permits or consents are required from any governmental or administrative
                              authority, or any third party (including, for the avoidance of doubt, any creditor
                              of the Sellers) for the consummation of the Transaction contemplated under this
                             Agreement.
                     6.2.     Each Seller is the sole legal and beneficial owner of the Sale Shares, which are
                              free from all charges, liens and Encumbrances whatsoever, other than as set
                              forth herein, and, as from the Closing Date only, the Sale Shares are not arrested,
                             blocked nor subject to withdrawal under legal and/or legislative acts of the
                              authorized bodies and/or court resolutions and/or otherwise. Furthermore, the
                              Sale Shares are not subject to a call or put option or alike and the Seller has no
                              obligations to sell or transfer the Sale Shares to any third party under any
                              contractual obligation, other than the current shareholders' agreement in place.
DocuSign Envelope ID: 7970A2F2-7DF3-47FF-A817-D649C339C16E
                       Case 23-50437-JTD             Doc 33-1     Filed 10/27/23       Page 8 of 13



                     6.3.    None of (a) the use of the Purchase Price, (b) the execution, delivery and
                             performance of this Agreement, or (c) the consummation of any transaction
                             contemplated hereby, or the fulfilment of the terms hereof, will result in a
                             violation by anyone, including without limitation the Sellers or the Purchaser,
                             of any anti-money laundering laws or any other legal provisions of any
                             jurisdiction. Furthermore, the Sellers, by entering and performing this
                             Agreement, do not infringe any obligation (neither contractual nor under
                             statutory laws) or provision of any applicable laws.
                     6.4.    As of the Closing Date, the Existing Shares are the only shares of the
                             Company's capital stock that are issued and outstanding, and there are no
                             outstanding rights of first refusal, preemptive rights, options, warrants, stock
                             plans, conversion rights or other agreements, either directly or indirectly, for the
                             purchase or acquisition of further Shares or other securities of the Company. As
                             of the Closing Date, the Company has no outstanding aggregate debt to the
                             Sellers in excess of US$700,000.


              7.     Representations and Warranties of the Purchaser
                     7.1.    The Purchaser is duly incorporated and validly existing under the laws of the
                             Seychelles.
                     7.2.    The Purchaser has all requisite power and authority to enter into and perform
                             this Agreement and is authorized to purchase and accept transfer of complete
                             and unrestricted title to the Sale Shares on the terms and conditions of this
                             Agreement. Other than as set forth herein no authorizations, permits or consents
                             are required from any governmental or administrative authority, or any third
                             party (including, for the avoidance of doubt, any shareholder or creditor of the
                             Purchaser) for the consummation of the Transaction contemplated under this
                             Agreement.
                     7.3.    This Agreement constitutes the valid and binding obligation of Purchaser,
                             enforceable against Purchaser in accordance with its terms; subject to applicable
                             bankruptcy, insolvency or other laws affecting the enforcement of creditors'
                             rights generally.

              8.     Covenants of the Sellers

            The Sellers agree to vote their shares or otherwise cause the Company to comply with the
            following:
DocuSign Envelope ID: 7970A2F2-7DF3-47FF-A817-D649C339C16E
                       Case 23-50437-JTD             Doc 33-1    Filed 10/27/23       Page 9 of 13



                     8.1.    For a period expiring on the five-year anniversary of the Closing Date, the
                             Purchaser or its designee shall have the right, but not the obligation, to
                             participate with respect to all non-public equity or equity-linked capital raising
                             transactions of the Company (each, a "Subsequent Financing"). The Company
                             shall give advance written notice to the Parties prior to any Subsequent
                             Financing. Each Party shall have ten (10) business days from receipt of such
                             notice to deliver a written notice to the Company that such Party elects to
                             exercise its right to participate in the Subsequent Financing with respect to an
                             amount of the Subsequent Financing equal to its current percentage of Shares
                             held (the "Pro-Rata Portion"), or otherwise such amount that as is at least
                             sufficient so the Subsequent Financing does not dilute the Purchaser's equity
                             percentage.
                     8.2.    For a period expiring on the five-year anniversary of the Closing Date, if any
                             Seller proposes to transfer any of its shares of Common Stock to any entity or
                             other acquirer other than a gift or other transfer without consideration
                             (hereinafter referred to as a "Selling Stockholder"), such Selling Stockholder
                             shall give written notice of such proposed transfer to the Parties at least 30 days
                             prior to the consummation of such proposed transfer, setting forth (i) the number
                             of Shares offered, (ii) the consideration to be received by such Selling
                             Stockholder, (iii) the identity of the acquirer, (iv) any other material items and
                             conditions of the proposed transfer and (v) the date of the proposed transfer.
                             Each Party other than the Selling Stockholder may elect to sell a Pro Rata
                             Portion (as hereinafter defined) of its Shares, at the same price per share
                             pursuant to the same terms and conditions with respect to payment for the shares
                             as agreed to by the Selling Stockholder, by sending written notice to the Selling
                             Stockholder within 15 days of the date of the Selling Stockholder's notice,
                             indicating a desire to sell such Pro Rata Portion of its Shares in the same
                             transaction. Following such 15 day period, the Selling Stockholder shall be
                             permitted to sell to the purchaser additional Shares representing Shares not sold
                             by other stockholders of the Company.
                     8.3.     For a period expiring on the five-year anniversary of the Closing Date, any new
                             issuances of Shares or other issuances of equity or rights to equity by the
                             Company shall require preapproval of the Purchaser, except for equity
                             financings that are both (i) subject to the right of participation described in
                             Section 8.1; and (ii) and that are part of a Subsequent Financing with a pre-
DocuSign Envelope ID: 7970A2F2-7DF3-47FF-A817-D649C339C16E
                      Case 23-50437-JTD             Doc 33-1       Filed 10/27/23    Page 10 of 13



                             money market cap valuation of at least US$10,000,000 (ie, $10,000 per Share
                             under current cap table).
                     8.4.    For a period expiring on the two-year anniversary of the Closing Date, any
                              Company payments to the Sellers will be in the form of dividends applied to all
                              owners of Shares, except for reasonable salary.


              9.     Miscellaneous

                     9.1.    Any notice, request, instruction or other document deemed by either Party to be
                             necessary, shall be sent by E-Mail and addressed as follows:
                            9.1.1.    Ifto Purchaser:        Sam@ftx.com
                            9.1.2.    Ifto Seller 1: ~kglawyers.ch
                            9.1.3.    Ifto Seller 2: ~kglawyers.ch
                            9.1.4.    If to Seller 3: •@kglawyers.ch
                     9.2.    Each Party may at any time change its address by giving notice to the other Party
                             in the manner described above.
                     9.3.    Each Party undertakes to keep, and shall procure that its employees,
                             representatives, and advisors keep, in strict confidence the existence and content
                             of this Agreement, the Transaction and all information and documents received
                             from the other Party; except to the extent (i) disclosure is required by applicable
                             mandatory law, (ii) necessary in a proceeding brought by a Party in pursuit of
                             its rights hereunder or (iii) such information becomes known to the public
                             without any fault of, or breach of any confidentiality undertaking by, the
                             disclosing Party. This confidentiality obligation shall continue to be in effect
                             after termination of this Agreement.
                     9.4.    This Agreement constitutes the entire agreement of the Parties regarding the
                             Transaction contemplated by this Agreement and supersedes all prior oral or
                             written agreement between the Parties.
                     9.5.    This Agreement including this Section shall only be modified by an agreement
                             in writing executed by the Parties.
                     9.6.    Any waiver of any claim under or in connection with this Agreement shall only
                             be valid if made in writing. The failure of any of the Parties to enforce any of
                             the provisions of this Agreement or any rights with respect thereto shall in no
                             way be considered as a waiver of such provisions or rights or in any way to
DocuSign Envelope ID: 7970A2F2-7DF3-47FF-A817-D649C339C16E
                      Case 23-50437-JTD             Doc 33-1     Filed 10/27/23       Page 11 of 13



                             affect the validity of this Agreement. The waiver of any breach of this
                             Agreement by any party hereto shall not operate to be construed as a waiver of
                             any other prior or subsequent breach.
                     9. 7.   All the terms, provisions and conditions of this Agreement shall be binding upon
                             and inure to the benefit of the Parties and their respective heirs, successors,
                             assigns and legal representatives. All covenants, representations and warranties
                             of the Sellers shall constitute joint and several obligations of each Seller.
                     9.8.    The Seller and the Purchaser shall consult before issuing press releases or
                             otherwise making any public statements or any statements to the Company's
                             employees with respect to this Agreement and shall not issue any such press
                             release or statement without the prior written approval of the other Party.
                     9.9.    If any provision of this Agreement is held to be invalid or unenforceable for any
                             reason, such provision shall be adjusted rather than annulled in order to achieve
                             a result which fully corresponds to the intention of the Parties.
                   9.10.     The Purchaser may not assign this Agreement or any rights or obligations
                             hereunder to any third party only with the prior written consent of Sellers.
                   9.11.     Each Party shall bear all its own costs, expenses and taxes incurred in
                             connection with the Transaction contemplated by this Agreement.

             10.     Governing Law and Jurisdiction
                    10.1.  This Agreement shall be governed by, and construed in accordance with, the
                             substantive laws of Switzerland, excluding its rules on conflict of laws and
                             excluding international treaties (such as the Vienna Sale of Goods Convention
                             (UN-Kaufrecht)).
                    10.2.    All disputes or claims arising out of or in relation with this Agreement,
                             including the entering into, validity, invalidity, breach or termination thereof
                             shall be submitted to and settled by private arbitration under ICC in Antigua.
                             Each Party bears its own attorney fees and costs, i.e. there is no reimbursement
                             to the prevailing party.


                                            [SIGNATURE PAGE TO FOLLOW]
DocuSign Envelope ID: 7970A2F2-7DF3-47FF-A817-D649C339C16E
                           Case 23-50437-JTD        Doc 33-1   Filed 10/27/23   Page 12 of 13




            IN WITNESS WHEREOF, the Parties have signed this Agreement on the date first written
            above:


            The Seller:


                       I   DocuSigned by:


                                                                                10/26/2020


            Place, date
            Crypto Lawyers, represented by its Managing Director Ernest Ukaj



                   I       DocuSigned by:


                                                                                 10/26/2020


            Place, date
            Ernest Ukaj




                                                                                   10/26/2020


            Place, date
            lorem ipsum RM UG (haftungsbeschrankt), represented by its Managing Director Robin
            Matzke
DocuSign Envelope ID: 7970A2F2-7DF3-47FF-A817-D649C339C16E
                      Case 23-50437-JTD             Doc 33-1    Filed 10/27/23   Page 13 of 13




            The Purchaser:


                                                                                  10/26/2020


            Place, date
            Alameda Ventures Ltd., represented by its Managing Director Samuel Benjamin
            Bankman-Fried



                                                             * * *
